Case 2:05-cr-20174-SH|\/| Document 10 Filed 08/11/05 Page 1 of 2 Page|D 14

IN THE UNITED sTATEs DISTRICT coURT F't--F:f-“‘ /{0_ o.c.
FOR THE WESTERN DISTRICT oF TENNESSEE
WESTERN DIVISION 05 AUG | l PM ls= 2f_'

 

UNITED STATES OF AMERICA

 

V.

PATRICK ALEXANDER 05c1‘20174-Ma

 

ORDER ON ARRAIGNMENT

 

This cause came to be heard on 6 Y ll?- lO.'J' the United States Attomey
for this district appeared on behalf of the government, and the defendant appeared in person and with
counsel:

NAME mAf~`l C - J'Elml‘\'Uu Who is Retained/Appointed.

The defendant, through counsel, waived formal arraignment and entered a plea of not guilty.

AIl motions shall be filed within thirty (30) days from the date hereof unless, for good cause
shown to a District Judge, such period is extended.

The defendant, Who is not in custody, may stand on his present bond.
;Llhe defendant, (not having made bond) (being a state prisoner) (being a federal

prisoner) (being held without bond pursuant to BRA of 1984), is remanded to the custody
of the U.S. Marshal. """

7 /

UNITED STATES MAGISTRATE ]UDGE

CHARGES ~ 18:111
ASSAULTING/ RESISTING/ IMPEDING OFFICERS/ EMPLOYEES

Attorney assigned to Case: F. Godwin

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This doct.ment entered on the docket s%eet in compli nce
wsm R.ne ss ana/m sam Fae¢-P on __'Loi_

 

Notice of Distribution

This notice confirms a copy of` the document docketed as number 10 in
case 2:05-CR-20174 Was distributed by f`aX, mail, or direct printing on
August 15, 2005 to the parties listed.

 

 

Frederick H. GodWin

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

l\/lemphis7 TN 38103

Honorable Sarnuel Mays
US DISTRICT COURT

